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D]STRICT OF MASSACHUSETTS
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UNITED STA'l`ES ()F AMERICA
CRIMlNAL NO. 93-CR-30044

‘\F.

KRISTEN GILBERT

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I}EFENDAN'I` ’5 MOTION 'IO DlSCUVER N01E5 ()F WITNESSES AND
"ID BE P'ROVIDED WlTl`_l A LlEiT OF Wl fNESSES

 

Now comes the defendant in the above captioned matter and requests that this
Honorable Court order the Goverrnnent to provide her with the following
l_ the notes of the investigators from the OlG-OHI team that initially
investigated the allegations of an increase in deaths at the VAMC in
`1996;
2. a list of witnesses that the government intends to call at the guilt-
innocence phase of trial and at any penalty phase of trial.

In support of this motion the defendant states that the above information
has been requested by letter as is required by the Loeal Rules and that the
Government has declined to produce it. 'l`he defendant contends that this
information is necessary in order to secure her right to a fair trial and to due
process of law as guaranteed by the `Fitth and Sixth Arnendment to the United

States Constitution.

..Y;

THE .DEFEN])ANT

 

DA'VTD P. HO(]SE, BBO#239400

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GRF.EN_, `MTLES, I.,TPTON, E'l`_ AL.
77 Pleasant Street `

Noitharnpton, MA 0`1060

(4l3:) 586-3213

 

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limme certify that en this day n true
1 copy et the above document was served upon

the umw of record for each a inch/bme
..-Li '-* 170 ___

Date:

 

